 Fill in this information to identify the case and this filing:


              KING MOUNTAIN TOBACCO COMPANY, INC.
 Debtor Name __________________________________________________________________

                                          EASTERN
 United States Bankruptcy Court for the: ______________________               WA
                                                                District of __________
                                                                               (State)
 Case number (If known):     20-01808
                            _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

         XX
                                                           AMENDED TOP 20
              Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                     12/23/2020
        Executed on ______________                               /s/ Truman J. Thompson
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                 Truman J. Thompson
                                                                ________________________________________________________________________
                                                                Printed name


                                                                 Vice President and Chief Executive
                                                                ______________________________________                Officer
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors

           20-01808-WLH11                   Doc 151        Filed 12/24/20                Entered 12/24/20 08:02:46               Pg 1 of 4
 Fill in this information to identify the case:
 Debtor name King Mountain Tobacco Company, Inc.
 United States Bankruptcy Court for the: EASTERN DISTRICT OF                                                                                         Check if this is an
                                                WASHINGTON
 Case number (if known):         20-01808                                                                                                             amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Alliance One                    Sharon Price                   Processed                                                                                                   $2,160.00
 Specialty Prods.,                                              Tobacco
 LLC                             sprice@aointl.com
 PO Box 1929                     Fax: (252) 291-2307
 Wilson, NC
 27894-1929
 BIA/NIIMS                       Lance                          Lease Expense                                                                                               $5,571.66
 13922 Denver West
 Pkwy                            Fax: 509-877-3478
 Lakewood, CO                    509-877-3155
 80401
 Coleman Oil                     Ian Coleman         Automotive and                                                                                                         $1,515.03
 Company                                             Petroleum
 PO Box 1308                     ian@colemanoil.co Products
 Lewiston, ID                    m
 83501-1308                      Fax: (208) 799-2008
 Commercial Tire,                                    Automotive                                                                                                             $2,232.29
 Inc.                            yakima@commerci Services
 PO Box 970                      altire.com
 Meridian, ID 83680              Fax: (509) 457-6992
 Guardian Security               Josh Anderson       Monitoring Fees                                                                                                      $21,225.50
 1743 First Avenue
 South                           janderson@securit
 Seattle, WA 98134               ysecurity.com
                                 509-453-4204
 H.B. Fuller                     Ana Pinto         Raw Materials                                                                                                            $5,972.79
 PO Box 842401
 Boston, MA                      Fax: 651-355-9135
 02284-2401                      651-236-5948
 Heritage Bank                   Terry Osman      SBA Paycheck                          Contingent                                                                      $814,447.00
 PO Box 1578                                      Protection
 Olympia, WA 98507               Terry.Osman@Heri Program loan
                                 tageBankNW.com
                                 509-834-2704




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    King Mountain Tobacco Company, Inc.                                                                Case number (if known)         20-01808
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Internal Revenue                                               Federal Income                                                                                          $483,527.08
 Service                                                        Taxes, Federal
 P.O. Box 9941, Stop             (800) 829-0115                 Unemployment
 6552                                                           Taxes, FICA and
 Ogden, UT                                                      Federal
 84409-0941                                                     Withholdings, and
                                                                Civil Penalties
 Lad Irrigation                  Casey Gubler                   Irrigation Parts                                                                                            $3,413.57
 Company
 P.O. Box 880                    cgubler@ladirrigati
 Moses Lake, WA                  on.com
 98837                           Fax: (509) 765-6618
 NC Filter                       Attn: Bobby         Raw                                                                                                                  $49,108.49
 Corporation                     Johnson             Materials-Filters
 Attn: Bobby
 Johnson                         bjohnson@tobacco
 P.O. Box 498                    rag.com
 Black Creek, NC                 252-237-8180
 27813
 Oak Harbor Freight                                             Shipping                                                                                                    $4,533.10
 Lines, Inc.                     AR@oakh.com
 PO Box 1469                     (800) 858-8815
 Auburn, WA
 98071-1469
 Office Solutions                                               Office Supplies                                                                                               $582.90
 Northwest Inc.                  alexm@whobest.c
 PO Box 125                      om
 Yakima, WA 98907                509-453-7181
 State of Indiana                                    Settlement                                                                                                       $3,506,121.00
 Office of the                   Fax: (317) 232-6201 Agreement with
 Attorney General                Ph: (317) 232-7979 State of Indiana re
 302 W. Washington                                   Case No.
 St., 5th Fl.                                        49D10-1211-MI-04
 Indianapolis, IN                                    4539, Marion
 46204                                               County Superior
                                                     Court
 State of South                  Johnathan B.        Settlement                                                                                                       $2,520,567.98
 Carolina                        Williams            Agreement with
 Office of the                                       State of South
 Attorney General                Fax: (803) 734-3677 Carolina re Case
 P.O. Box 11549                  Ph: (803) 734-3970 No.
 Columbia, SC                                        2011-CP-40-5065,
 29211-1549                                          Richland County
                                                     Court of Common
                                                     Pleas
 Taghleef Industries             Rhonda Haman        Freight                                                                                                              $16,442.16
 Inc.
 500 Creek View Rd.,             rhonda.haman@tifi
 Suite 301                       lms.com
 Newark, DE 19711                Fax: (302) 326-5508




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    King Mountain Tobacco Company, Inc.                                                                Case number (if known)         20-01808
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 U.S. Dep't of                                                  Interim Payment                                                                                       $5,614,567.20
 Agriculture                                                    Plan Agreement re
 2323 E. Bannister               (202) 720-2791                 Judgment in U.S.
 Rd.                                                            District Court,
 Kansas City, MO                                                E.D. Wash.
 64131
 U.S. Food and Drug                                             Repayment                                                                                             $2,944,907.48
 Administration                  ctpexecsec@fda.h               Agreement re
 P.O. Box 979107                 hs.gov                         Tobacco User
 Saint Louis, MO                 (877) 287-1373                 Fees
 63197-9000
 Valley Septic                   Lance Wright                   Professional                                                                                                  $693.00
 Service                                                        Services
 PO Box 10115       valleyseptic@valle
 Yakima, WA         y-septic.com
 98909-1115         Phone: (509)
                    248-6810
 Yakama Nation Land Kristin Sampson     Lease Expense                                                                                                                   $176,659.00
 Enterprise
 282 Buster Road    Kristin@ynle.com
 Toppenish, WA      (509) 865-5121
 98948
 Yakima Valley      Tony Serrano        Shipping                                                                                                                            $5,600.00
 Transportation LLC
 301 South 12th     tony@yvtllc.com
 Avenue             Fax: (509) 628-5201
 Yakima, WA 98902




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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